          Case 1:18-cr-00362-RBW Document 1 Filed 12/06/18 Page 1 of 2


                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                   Holding a Criminal Term

                            Grand Jury Sworn in on May 3, 2018

UNITED STATES OF AMERICA                    :      CRIMINAL NO.
                                            :
              v.                            :      GRAND JURY ORIGINAL
                                            :
TONY L. HERRION,                            :      VIOLATION:
also known as “Anthony Miller,”             :      18 U.S.C. § 922(g)(1)
                                            :      (Unlawful Possession of a Firearm and
                        Defendant.          :      Ammunition by a Person Convicted of a
                                            :      Crime Punishable by Imprisonment for a
                                            :      Term Exceeding One Year)
                                            :
                                            :      FORFEITURE: 18 U.S.C. § 924(d),
                                            :      21 U.S.C. § 853(p) and 28 U.S.C. § 2461(c)

                                      INDICTMENT

       The Grand Jury charges that:

                                        COUNT ONE

       On or about October 22, 2018, within the District of Columbia, TONY L. HERRION,

also known as “Anthony Miller,” having been convicted of a crime punishable by imprisonment

for a term exceeding one year, in the District Court for the District of Columbia, Criminal Case

No. 03-CR-440, did unlawfully and knowingly receive and possess a firearm, that is, a Taurus,

.380 caliber revolver, and did unlawfully and knowingly receive and possess ammunition, that is,

.380 caiber ammunition, which had been possessed, shipped and transported in and affecting

interstate and foreign commerce.

       (Unlawful Possession of a Firearm and Ammunition by a Person Convicted of a Crime
       Punishable by Imprisonment for a Term Exceeding One Year, in violation of Title 18,
       United States Code, Section 922(g)(1))
            Case 1:18-cr-00362-RBW Document 1 Filed 12/06/18 Page 2 of 2


                                 FORFEITURE ALLEGATION

       1.      Upon conviction of the offense alleged in Count One this Indictment, the defendant

shall forfeit to the United States, pursuant to Title 18, United States Code, Section 924(d) and Title

28, United States Code, Section 2461(c), any firearms and ammunition involved in or used in the

knowing commission of the offense, including but not limited to a Taurus, .380 caliber revolver

and .380 caliber ammunition.

       2.      If any of the property described above as being subject to forfeiture, as a result of

any act or omission of the defendant:

       (a)     cannot be located upon the exercise of due diligence;

       (b)     has been transferred or sold to, or deposited with, a third party;

       (c)     has been placed beyond the jurisdiction of the Court;

       (d)     has been substantially diminished in value; or

       (e)     has been commingled with other property that cannot be subdivided without

               difficulty;

the defendant shall forfeit to the United States any other property of the defendant, up to the value

of the property described above, pursuant to Title 21, United States Code, Section 853(p), as

incorporated by Title 28, United States Code, Section 2461(c).

       (Criminal Forfeiture, pursuant to Title 18, United States Code, Section 924(d), Title 21,
       United States Code, Section 853(p), and Title 28, United States Code, Section 2461(c))

                                               A TRUE BILL:


                                               FOREPERSON.


Attorney of the United States in
and for the District of Columbia.
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